        Case 4:22-cv-01490-JST Document 128 Filed 08/21/23 Page 1 of 6



 1   Rachael D. Lamkin (SBN 246066)
     Karan Singh Dhadialla (SBN 296313)
 2   BAKER BOTTS L.L.P.
     101 California Street, Suite 3200
 3   San Francisco, California 94111
     Phone: (415) 291-6200
 4   Fax: (415) 291-6300
     rachael.lamkin@bakerbotts.com
 5   karan.dhadialla@bakerbotts.com
 6
     Attorneys for Defendant, NETFLIX, INC.
 7
     Additional counsel listed on signature page
 8

 9                               UNITED STATES DISTRICT COURT

10                             NORTHERN DISTRICT OF CALIFORNIA

11                                        OAKLAND DIVISION

12

13    LAURI VALJAKKA,                                  Case No. 4:22-cv-01490-JST
14             Plaintiff,                              DEFENDANT NETFLIX, INC.’S NOTICE
                                                       OF MOTION AND OPPOSED MOTION
15       v.                                            FOR LEAVE TO AMEND ITS ANSWER
                                                       TO ADD A SINGLE CUVTA
16    NETFLIX, INC.,                                   COUNTERCLAIM
17             Defendant.                              Judge:    Hon. Jon S. Tigar
                                                       Date:     October 19, 2023
18                                                     Time:     2:00 p.m.
                                                       Crtrm:    6 – 2nd Floor
19

20

21

22

23

24

25

26

27

28


     NETFLIX, INC.’S MOTION FOR LEAVE TO AMEND ITS ANSWER                    CASE No. 4:22-cv-01490-JST
        Case 4:22-cv-01490-JST Document 128 Filed 08/21/23 Page 2 of 6



 1          PLEASE TAKE NOTICE that on October 19, 2023, at 2:00 p.m., or as soon before or
 2   thereafter as the matter may be heard, in Courtroom 6 on the 2nd Floor of the Oakland Courthouse
 3   located at 1301 Clay Street, Oakland, CA 94612, Defendant Netflix, Inc. (“Netflix”) will and hereby
 4   does move this Court for leave to amend its answer to add a single counterclaim.
 5          This motion is based on this Notice of Motion, the attached memorandum of points and
 6   authorities in support thereof, and such other written and/or oral arguments as may be presented at
 7   or before the time this Motion is taken under submission by the Court.
 8

 9                             LOCAL RULE 7-2(b)(3) RELIEF SOUGHT
10          Herein Defendant Netflix, Inc. seeks leave to amend to add a single counterclaim to
11   Netflix’s Answer, Dkt. No., 116, for violation of California’s Uniform Voidable Transactions Act.
12

13   Dated: August 21, 2023                          Respectfully submitted,
                                                     /s/ Rachael D. Lamkin
14
                                                     Rachael D. Lamkin (SBN 246066)
15                                                   Karan Singh Dhadialla (SBN 296313)
                                                     BAKER BOTTS L.L.P.
16                                                   101 California Street, Suite 3200
                                                     San Francisco, CA 94111
17                                                   Tel: (415) 291-6200
                                                     Fax: (415) 291-6300
18
                                                     rachael.lamkin@bakerbotts.com
19                                                   karan.dhadialla@bakerbotts.com

20                                                   Sarah E. Piepmeier, Bar No. 227094
                                                     SPiepmeier@perkinscoie.com
21                                                   Elise S. Edlin, Bar No. 293756
                                                     EEdlin@perkinscoie.com
22
                                                     PERKINS COIE LLP
23                                                   505 Howard Street, Suite 1000
                                                     San Francisco, California 94105
24                                                   Telephone: +1.415.344.7000
                                                     Facsimile: +1.415.344.7050
25

26                                                   Janice L. Ta (appearance pro hac vice)
                                                     JTa@perkinscoie.com
27                                                   PERKINS COIE LLP
                                                     405 Colorado Street Suite 1700
28                                                   Austin, Texas 78701
                                                     Telephone: +1.737.256.6100
     NETFLIX, INC.’S MOTION FOR LEAVE TO AMEND ITS ANSWER                      CASE No. 4:22-cv-01490-JST
                                                       i
        Case 4:22-cv-01490-JST Document 128 Filed 08/21/23 Page 3 of 6



 1                                                   Facsimile: +1.737.256.6300
 2                                                   Jassiem N. Moore (appearance pro hac vice)
 3                                                   JassiemMoore@perkinscoie.com
                                                     PERKINS COIE LLP
 4                                                   1201 Third Avenue, Suite 4900
                                                     Seattle, Washington 98101-3099
 5                                                   Telephone: +1.206.359.8000
                                                     Facsimile: +1.206.359.9000
 6

 7                                                   Brianna Kadjo, Bar No. 303336
                                                     BKadjo@perkinscoie.com
 8                                                   PERKINS COIE LLP
                                                     1900 Sixteenth Street, Suite 1400
 9                                                   Denver, Colorado 80202-5255
                                                     Telephone: +1.303.291.2300
10                                                   Facsimile: +1.303.291.2400
11
                                                     Attorneys for Defendant, NETFLIX, INC.
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     NETFLIX, INC.’S MOTION FOR LEAVE TO AMEND ITS ANSWER                    CASE No. 4:22-cv-01490-JST
                                                      ii
        Case 4:22-cv-01490-JST Document 128 Filed 08/21/23 Page 4 of 6



 1           Pursuant to Federal Rules of Civil Procedure 15 and 16, Netflix files this opposed motion
 2   for leave to amend its Answer to Plaintiff’s Third Amended Complaint, Additional Defenses, and
 3   Counterclaims (“Answer”), Dkt. No. 116. As detailed in its concurrently filed Motion For
 4   Preliminary Injunction, Plaintiff Lauri Valjakka has concealed material, relevant evidence of his
 5   fraudulent transfer, in an insider transaction, to his company CDN Licensing. In light of new
 6   evidence, Netflix moves to add a counterclaim against Mr. Valjakka for violation of the California
 7   Uniform Voidable Transactions Act, Cal. Civ. Code § 3429 et. seq. Netflix has been diligent in
 8   amending its Answer. See Lamkin Decl., ¶¶6-11. Every modification to the scheduling order except
 9   this one has either come as the result of a joint stipulation or unopposed agreement. See, e.g., ECF
10   Nos. 46, 59, 95, 96, 101.
11           Good cause exists for this request. See Fed.R.Civ.P 16(b)(4).
12           Although this matter has been pending for two years (2), Valjakka withheld and concealed
13   material, highly relevant evidence until just before the close of fact discovery, i.e., exclusive licenses
14   to the Asserted Patents demonstrating that Plaintiff Valjakka no longer had a majority of the rights
15   to the Asserted Patents (the “CDN licenses”). After the production and translation of the CDN
16   licenses, and after Mr. Valjakka’s June 2023 deposition testimony, Netflix realized Mr. Valjakka
17   had orchestrated fraudulent transactions in order to effectuate transfers of his assets to ostensibly
18   avoid paying creditors’ contingent claims. See Lamkin Decl., ¶¶6-11; Netflix’s Motion For
19   Preliminary Injunction.
20           Fact discovery closed on June 14, 2023. Dkt. No. 98. On May 12, 2023, after twenty (20)
21   months of litigation and in contravention of multiple discovery requests over the prior year seeking
22   the exact information withheld, Valjakka produced two highly relevant documents, in Finnish.
23   Netflix—on its own accord—obtained certified translations on those documents on May 30, 2023,
24   two days before Mr. Valjakka’s deposition. In June and July, 2023, Netflix has been absorbed in (i)
25   discovering and pleading inequitable conduct against Mr. Valjakka, (ii) expert reports, (iii)
26   mediation, (iv) amending its damages contentions, and (v) drafting summary judgment motions
27   (Dkt. Nos. 101-124). With these demands, Valjakka was almost successful in permanently
28   concealing his CUVTA violations. However, upon further review of Mr. Valjakka’s deposition

     NETFLIX, INC.’S MOTION FOR LEAVE TO AMEND ITS ANSWER                           CASE No. 4:22-cv-01490-JST
                                                         1
        Case 4:22-cv-01490-JST Document 128 Filed 08/21/23 Page 5 of 6



 1   transcript and the CDN licenses in early August 2023, Mr. Valjakka’s attempts to fraudulently

 2   transfer assets became apparent. See Lamkin Decl., ¶¶6-11. Netflix immediately began researching

 3   its rights and remedies, ultimately determining a CUVTA counterclaim and preliminary injunction

 4   were warranted. Id.

 5          Mr. Valjakka will not be prejudiced by this request. Netflix does not seek to extend any

 6   dates in the schedule, including trial.

 7          Filed as Exhibit A hereto is Netflix’s proposed amendment to its Answer, in redline.

 8          The Parties have engaged in extensive written correspondence regarding CUVTA and this

 9   Motion since August 16, 2023. Lamkin Decl., ¶¶12-17. Netflix has been asking Valjakka to meet

10   and confer since that date. Valjakka’s counsel stated that he could only meet and confer this

11   morning. The parties engaged in a telephonic meet and confer this morning and were unable to

12   come to compromise. See Declaration of Rachael D. Lamkin in support of Netflix’s Motion For

13   Preliminary Injunction, ¶¶12-17, filed concurrently herewith and incorporated by reference. Netflix

14   thus files this Motion opposed.

15

16
     Dated: August 21, 2023                          Respectfully submitted,
17
                                                     /s/ Rachael D. Lamkin
18
                                                     Rachael D. Lamkin (SBN 246066)
19                                                   Karan Singh Dhadialla (SBN 296313)
                                                     BAKER BOTTS L.L.P.
20                                                   101 California Street, Suite 3200
                                                     San Francisco, CA 94111
21                                                   Tel: (415) 291-6200
                                                     Fax: (415) 291-6300
22
                                                     rachael.lamkin@bakerbotts.com
23                                                   karan.dhadialla@bakerbotts.com

24                                                   Sarah E. Piepmeier, Bar No. 227094
                                                     SPiepmeier@perkinscoie.com
25                                                   Elise S. Edlin, Bar No. 293756
26                                                   EEdlin@perkinscoie.com
                                                     PERKINS COIE LLP
27                                                   505 Howard Street, Suite 1000
                                                     San Francisco, California 94105
28                                                   Telephone: +1.415.344.7000
                                                     Facsimile: +1.415.344.7050
     NETFLIX, INC.’S MOTION FOR LEAVE TO AMEND ITS ANSWER                      CASE No. 4:22-cv-01490-JST
                                                      2
        Case 4:22-cv-01490-JST Document 128 Filed 08/21/23 Page 6 of 6



 1
                                                     Janice L. Ta (appearance pro hac vice)
 2                                                   JTa@perkinscoie.com
 3                                                   PERKINS COIE LLP
                                                     405 Colorado Street Suite 1700
 4                                                   Austin, Texas 78701
                                                     Telephone: +1.737.256.6100
 5                                                   Facsimile: +1.737.256.6300
 6                                                   Jassiem N. Moore (appearance pro hac vice)
 7                                                   JassiemMoore@perkinscoie.com
                                                     PERKINS COIE LLP
 8                                                   1201 Third Avenue, Suite 4900
                                                     Seattle, Washington 98101-3099
 9                                                   Telephone: +1.206.359.8000
                                                     Facsimile: +1.206.359.9000
10

11                                                   Brianna Kadjo, Bar No. 303336
                                                     BKadjo@perkinscoie.com
12                                                   PERKINS COIE LLP
                                                     1900 Sixteenth Street, Suite 1400
13                                                   Denver, Colorado 80202-5255
                                                     Telephone: +1.303.291.2300
14
                                                     Facsimile: +1.303.291.2400
15
                                                     Attorneys for Defendant, NETFLIX, INC.
16

17

18

19

20

21

22

23

24

25

26

27

28

     NETFLIX, INC.’S MOTION FOR LEAVE TO AMEND ITS ANSWER                    CASE No. 4:22-cv-01490-JST
                                                      3
